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                        United States Court of Appeals
                                 FOR THE DISTRICT OF COLUMBIA CIRCUIT
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No. 24-5101                                                   September Term, 2024
                                                                          1:21-cv-00119-RDM
                                                     Filed On: March 21, 2025 [2107155]
Center for Biological Diversity, et al.,

                   Appellees

         v.

Lee M. Zeldin, in his official capacity as
Administrator for the U.S. Environmental
Protection Agency, et al.,

                   Appellees

State of Florida and Florida Department of
Environmental Protection,

                   Appellants


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Consolidated with 24-5156, 24-5159

                                             ORDER

       It is ORDERED, on the court's own motion, that these cases be scheduled for oral
argument on April 24, 2025May 5, 2025, at 9:30 A.M. The composition of the argument
panel will usually be revealed thirty days prior to the date of oral argument on the court's
web site at www.cadc.uscourts.gov.

         The time and date of oral argument will not change absent further order of the
Court.

         A separate order will be issued regarding the allocation of time for argument.

                                                            FOR THE COURT:
                                                            Clifton B. Cislak, Clerk

                                                    BY:     /s/
                                                            Michael C. McGrail
                                                            Deputy Clerk

The following forms and notices are available on the Court's website:

         Memorandum to Counsel Concerning Cases Set for Oral Argument (Form 71)
